4:04-cr-03065-RGK-CRZ       Doc # 79    Filed: 06/09/05   Page 1 of 1 - Page ID # 170




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          4:04CR3065-1
                                          )
             Plaintiff,                   )
                                          )          MEMORANDUM
vs.                                       )          AND ORDER
                                          )
PEDRO VALLES-MINJAREZ,                    )
                                          )
             Defendant.                   )

      On the oral motion of the defendant,

       IT IS ORDERED that Defendant Valles-Minjarez’s sentencing is continued to
12:00 noon on Friday, June 10, 2005, before the undersigned United States District
Judge, in Courtroom No. 1, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska. Since this is a criminal case, the defendant
shall be present unless excused by the court.

      DATED this 9th day of June, 2005.

                                              BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
